 1                                                    The Honorable Christopher M. Alston
                                                      Chapter 7
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 8                            UNITED STATES BANKRUPTCY COURT
                          WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 9

10   In re                                             Case No. 21-11757-CMA
11   MARK CONRAD WOLF,
12           Debtor.
13

14   EDMUND J. WOOD, solely in his capacity as         Adversary Proceeding No. ___________
     Chapter 7 Trustee for MARK CONRAD
15   WOLF,                                             COMPLAINT FOR (1) DECLARATORY
                                                       JUDGMENT, (2) JUDGMENT
16           Plaintiff.                                AVOIDING AND PRESERVING AND
                                                       RECOVERING IRS LIENS SECURING
17   vs.                                               NON-PECUNIARY TAX PENALTIES
                                                       AND INTEREST ON PENALTIES, AND
18   MARK CONRAD WOLF; the STATE OF                    (3) RELATED RELIEF
     WASHINGTON; the INTERNAL
19   REVENUE SERVICE; BANK OF
     AMERICA, N.A.; LARRY A. JOHNSON;
20   WASHINGTON STATE DEBT
     ACQUISITION LLC, a Washington limited
21   liability company, as successor-in-interest to
     FD 2011-C1 HOOD RETAIL, LLC, an
22   Oregon limited liability company; and
     RENTON COLLECTIONS, INC., a
23   Washington corporation,
24           Defendants.
25

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     COMPLAINT FOR (1) DECLARATORY JUDGMENT, (2) JUDGMENT                     GROSHONG LAW PLLC
     AVOIDING AND PRESERVING … AND (3) RELATED RELIEF - 1                            T: 206.508.0585
                                                                             600 STEWART STREET, SUITE 1300
                                                                              SEATTLE, WASHINGTON 98101

      Case 22-01003-CMA          Doc 1     Filed 02/18/22   Ent. 02/18/22 18:09:20     Pg. 1 of 14
 1                  Plaintiff Edmund J. Wood, solely in his capacity as the Chapter 7 trustee for the
 2   bankruptcy estate of Mark Conrad Wolf, on his own knowledge or on information and belief,
 3   alleges as follows.
 4                                        I.       INTRODUCTION
 5                  This complaint concerns the Debtor’s improved real property commonly known
 6   as 4032 138th Avenue SE, Bellevue, Washington 98006. The Debtor claims a homestead
 7   exemption in the Bellevue Residence (defined in paragraph 9 below) under the recently amended
 8   Washington homestead act, RCW 6.13 et. Seq. (the “Homestead Act”). Under a recent
 9   amendment, RCW 6.13.070(2) provides that in a bankruptcy case, if the requirements are
10   otherwise met, a debtor’s “right to possession and interests of no monetary value” in the
11   homestead property are exempt. This complaint asks the court to determine whether the
12   Bellevue Residence is property of the estate under 11 U.S.C. § 541, notwithstanding the
13   amendments to the Homestead Act, particularly where, as here, there are IRS liens that secure
14   significant liens for penalties and interest on penalties that may be avoided pursuant to
15   11 U.S.C. § 724(a) and recovered and preserved for the estate and its creditors pursuant to
16   11 U.S.C. §§ 550 and 551. This complaint seeks the resolution of certain related matters, so that
17   if the requested relief is granted, the Trustee can market and sell the Bellevue Residence for the
18   benefit of the unsecured creditors of the estate.
19                  Specifically, the Trustee seeks determination of the following:
20                  1.      That the Bellevue Residence is property of the estate under 11 U.S.C. §
21   541, notwithstanding recent amendments to RCW 6.13 et seq.
22                  2.      Alternatively, that the Homestead Act as amended is void and
23   unenforceable by reason of Article VI, paragraph 2 of the United States Constitution (the
24   “Supremacy Clause”) to the extent it would deprive the Trustee of his rights to administer the
25   Bellevue Residence and to avoid, recover, and preserve the IRS Liens (defined in paragraph 16.4
26




     COMPLAINT FOR (1) DECLARATORY JUDGMENT, (2) JUDGMENT                           GROSHONG LAW PLLC
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      Case 22-01003-CMA           Doc 1        Filed 02/18/22   Ent. 02/18/22 18:09:20       Pg. 2 of 14
 1   below) as to penalties and interest on penalties for the benefit of the estate and the Debtor’s
 2   unsecured creditors pursuant to 11 U.S.C. § 724(a) and 11 U.S.C. §§ 550 and 551.
 3                  3.       The nature and amount of the Debtor’s homestead exemption.
 4                  4.       The extent, validity, and priority of liens and interests in the Bellevue
 5   Residence, including the priority and amount of the IRS Liens for penalties and interest on
 6   penalties.
 7                  5.       Judgment that the Trustee may avoid the IRS Liens as to penalties and
 8   interest on penalties pursuant to 11 U.S.C. § 724(a) with the avoided liens recovered for the
 9   benefit of the estate under 11 U.S.C. § 550.
10                  6.       Judgment that the Trustee may avoid the IRS Liens as to penalties and
11   interest on penalties pursuant to 11 U.S.C. § 724(a) with the avoided liens preserved for the
12   benefit of the estate under 11 U.S.C. § 551.
13                  7.       Judgment that the disbursement of proceeds attributable to the IRS Liens,
14   other than those proceeds from liens avoided under 11 U.S.C. § 724(a) and recovered and
15   preserved under 11 U.S.C. §§ 550 and 551, shall be made pursuant to 11 U.S.C. §724(b).
16                                            II.     PARTIES
17                  1.       Plaintiff. Edmund J. Wood, solely in his capacity as the Chapter 7 trustee
18   for the bankruptcy estate of Mark Conrad Wolf (“Wood” or “Trustee”), is the plaintiff in this
19   adversary proceeding.
20                  2.       Defendants.
21          2.1     Mark Conrad Wolf (“Wolf” or “Debtor”) is the debtor in the chapter 7
                    bankruptcy filed September 20, 2021, in the United States Bankruptcy
22                  Court for the Western District of Washington, at Seattle, under case
                    number 21-11757-CMA.
23
            2.2     The State of Washington.
24
            2.3     The Internal Revenue Service (“IRS”) is the tax collection agency for the
25                  United States of America and administers the Internal Revenue Code
                    enacted by Congress.
26




     COMPLAINT FOR (1) DECLARATORY JUDGMENT, (2) JUDGMENT                             GROSHONG LAW PLLC
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      Case 22-01003-CMA           Doc 1     Filed 02/18/22     Ent. 02/18/22 18:09:20          Pg. 3 of 14
 1            2.4   Bank of America, N.A. (“B of A”) is a National Association organized
                    and existing under the laws of the United States of America, with an
 2                  address of 100 North Tryon Street, Charlotte, North Carolina, 28255.
 3            2.5   Larry A. Johnson, on information and belief, is an individual residing in
                    the State of California.
 4
              2.6   Washington State Debt Acquisition, LLC is a Washington limited liability
 5                  company. It is assignee of a judgment in favor of FD 2011-C1 Hood
                    Retail, LLC, an Oregon limited liability company that was dissolved on
 6                  January 15, 2019. On February 4, 2013, a General Judgment for
                    Foreclosure of Real and Personal Property and Money Award in favor of
 7                  FD 2011-C1 Hood Retail, LLC was entered in case number 11C25243 in
                    the Circuit Court of the State of Oregon for Marion County. On May 20,
 8                  2013, the Judgment was domesticated in Washington in King County
                    Superior Court under case number 13-2-20260-3 SEA. The Judgment was
 9                  last assigned to Washington State Debt Acquisition, LLC on June 25,
                    2021, and the Assignment of Judgment was filed with King County
10                  Superior Court on July 1, 2021 and recorded in King County on July 23,
                    2021.
11
              2.7   Renton Collections, Inc., is a Washington for-profit corporation located in
12                  Renton, Washington.
13                                 III.    JURISDICTION; VENUE
14                  3.     Jurisdiction to consider this complaint arises under 28 U.S.C. §§ 157(a)

15   and (b), 1334(a) and (b). This is a core matter under 28 U.S.C. § 157(b)(2)(A), (B), (K) and (O).

16                  4.     This matter has been referred to the Bankruptcy Judges of this District

17   pursuant to General Rule 7 of the Rules for the United States District Court for the Western

18   District of Washington.

19                  5.     Venue is proper in this district under 28 U.S.C. § 1409(a).

20                  6.     This adversary proceeding is commenced pursuant to Federal Rule of

21   Bankruptcy Procedure 7001(2), (7) and (9)

22                  7.     Plaintiff consents to entry of final orders or judgment by the bankruptcy

23   court.

24                                IV.     FACTUAL BACKGROUND
25                  8.     The underlying case (the “Bankruptcy”) was commenced when Wolf filed

26   his voluntary Chapter 7 bankruptcy petition on September 20, 2021 (the “Petition Date”). Wood




     COMPLAINT FOR (1) DECLARATORY JUDGMENT, (2) JUDGMENT                         GROSHONG LAW PLLC
     AVOIDING AND PRESERVING … AND (3) RELATED RELIEF - 4                                T: 206.508.0585
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                                                                                  SEATTLE, WASHINGTON 98101

      Case 22-01003-CMA          Doc 1    Filed 02/18/22     Ent. 02/18/22 18:09:20        Pg. 4 of 14
 1   was appointed as the Chapter 7 trustee for Wolf on the Petition Date and has acted in that
 2   capacity since then.
 3                  9.      Among the assets of the estate is a parcel of improved real property legally
 4   described as
 5          A PORTION OF THE NORTHEAST QUARTER OF THE NORTHWEST
            QUARTER OF SECTION 15, TOWNSHIP 24 NORTH, RANGE 5 EAST,
 6          W.M., IN KING COUNTY, WASHINGTON, DESCRIBED AS FOLLOWS:
 7          COMMENCING AT THE NORTHWEST CORNER OF LOT 14 OF EAST
            VIEW HOMES ADDITION, ACCORDING TO PLAT RECORDED IN
 8          VOLUME 53 OF PLATS, AT PAGE(S) 39, IN KING COUNTY,
            WASHINGTON;
 9
            THENCE SOUTH 00°26'00" WEST ALONG THE WEST LINE OF SAID
10          PLAT 150 FEET;
11          THENCE NORTH 88°47'53" WEST 130.33 FEET;
12          THENCE SOUTH 00°24'18" WEST 146 FEET TO THE TRUE POINT OF
            BEGINNING;
13
            THENCE NORTH 88°47'53" WEST 160.28 FEET, MORE OR LESS, TO THE
14          EASTERLY MARGIN OF 138TH AVENUE SOUTHEAST;
15          THENCE SOUTHERLY ALONG SAID EASTERLY MARGIN 74.23 FEET;
16          THENCE SOUTH 89°37'25" EAST 160.24 FEET, MORE OR LESS, TO A
            POINT WHICH BEARS SOUTH 0°24'18" WEST AND DISTANT 72.40 FEET
17          FROM THE TRUE POINT OF BEGINNING;
18          THENCE NORTH 0°24'18" WEST AND DISTANT 72.40 FEET FROM THE
            TRUE POINT OF BEGINNING;
19
            THENCE NORTH 0°24'18" EAST 72.40 FEET TO THE TRUE POINT OF
20          BEGINNING.
21          SITUATE IN THE COUNTY OF KING, STATE OF WASHINGTON.
22   and commonly known as 4032 138th Avenue SE, Bellevue, Washington 98006 (the “Bellevue
23   Residence”).
24                  10.     As of October 1, 2021, title to the Bellevue Residence was vested in Mark
25   C. Wolf, as his separate estate.
26




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     AVOIDING AND PRESERVING … AND (3) RELATED RELIEF - 5                                 T: 206.508.0585
                                                                                  600 STEWART STREET, SUITE 1300
                                                                                   SEATTLE, WASHINGTON 98101

      Case 22-01003-CMA           Doc 1   Filed 02/18/22     Ent. 02/18/22 18:09:20         Pg. 5 of 14
 1                  11.    The Debtor scheduled the value of the Bellevue Residence as $800,000.
 2   Bankruptcy Dkt. # 1, at 11. For the tax year 2022, King County appraised the value of the
 3   Bellevue Residence as $784,000, comprised of $645,000 for the land and $139,000 for the
 4   improvements. Wood’s real estate agent, Chad Tharp, viewed the Bellevue Residence and
 5   estimated its fair market value as $1,395,000. Declaration of Chad Tharp, ¶ 3.
 6                  12.    Debtor claimed $729,600 of his interest in the Bellevue Residence as
 7   exempt under RCW 6.13.010, 6.13.020, and 6.13.030. Bankruptcy Dkt. # 1, at 17.
 8                  13.    In 2021, the state of Washington made changes to its Homestead Act,
 9   RCW 6.13 et seq., finding that the changes “are necessary to modernize the law and to address
10   the case of Wilson v. Rigby, 909 F.3d 306 (2018) and to adopt the reasoning in In re Good,
11   588 B.R. 573 (Bankr. W.D. Wash 2018).” RCW 6.13.010, Notes: Findings-2021 c 290.
12                  14.    Under RCW 6.13.030, as amended, the homestead exemption amount is
13   the greater of $125,000 or the county’s median sale price of a single-family home in the
14   preceding calendar year, using data from the Washington Center for Real Estate Research. In
15   King County, the annual median home price for 2020 was $729,600
16   [https://wcrer.be.uw.edu/archived-reports/].
17                  15.    RCW 6.13.070(2) now provides as follows:
18          In a bankruptcy case, the debtor's exemption shall be determined on the date the
            bankruptcy petition is filed. If the value of the debtor's interest in homestead
19          property on the petition date is less than or equal to the amount that can be
            exempted under RCW 6.13.030, then the debtor's entire interest in the property,
20          including the debtor's right to possession and interests of no monetary value, is
            exempt. Any appreciation in the value of the debtor's exempt interest in the
21          property during the bankruptcy case is also exempt, even if in excess of the
            amounts in RCW 6.13.030(1).
22

23                  16.    The Bellevue Residence is encumbered by various liens, approximately as
24   follows, with the total of stated lien amounts greatly exceeding the estimated fair market value,
25   as more particularly described in the Title Commitment:
26




     COMPLAINT FOR (1) DECLARATORY JUDGMENT, (2) JUDGMENT                          GROSHONG LAW PLLC
     AVOIDING AND PRESERVING … AND (3) RELATED RELIEF - 6                                 T: 206.508.0585
                                                                                  600 STEWART STREET, SUITE 1300
                                                                                   SEATTLE, WASHINGTON 98101

      Case 22-01003-CMA          Doc 1    Filed 02/18/22     Ent. 02/18/22 18:09:20         Pg. 6 of 14
 1           16.1     Lien of Real Estate Excise Tax and other taxes upon sale of said premises,
                      or transfer of a controlling interest, if unpaid;
 2
             16.2     Deed of Trust in the principal amount of $207,433, granted by Mark C.
 3                    Wolf, as his sole and separate property, to Bank of America, N.A., dated
                      October 20, 2010, and recorded October 27, 2010, under King County
 4                    Recording Number 20101027000717 (the “B of A DOT”);
 5           16.3     Deed of Trust in the principal amount of $106,000, granted by Mark C.
                      Wolf to Larry A. Johnson, dated March 18, 2011, and recorded March 25,
 6                    2011, under King County Recording Number 20110325000511 (the
                      “Johnson DOT”);
 7
             16.4     Tax liens securing obligations to the IRS in the total amount of
 8                    $1,433,444.16, including liens for non-pecuniary penalties and interest on
                      penalties in the total amount of $440,966.53, as of the Petition Date
 9                    (collectively, the “IRS Liens”), as follows:
10                    16.4.1 Tax lien in favor of the United States of America in the original
                             amount of $99,363.501, dated December 19, 2014, and recorded
11                           December 29, 2014, under King County Recording Number
                             20141229000570 (the “2014 IRS Lien”);
12
                      16.4.2 Tax lien in favor of the United States of America in the original
13                           amount of $29,015.972, dated February 28, 2019, and recorded
                             March 12, 2019, under King County Recording Number
14                           20190312000844; (“2019 IRS Lien”);
15                    16.4.3 Tax lien in favor of the United States of America in the original
                             amount of $1,196,932.523, dated December 24, 2019, and recorded
16                           January 7, 2020, under King County Recording Number
                             20200107000610 (“2020 IRS Lien”); and
17
                      16.4.4 Tax lien in favor of the United States of America in the original
18                           amount of $46,457.354, dated March 9, 2021, and recorded March
                             19, 2021, under King County Recording Number 20210319000694
19                           (the “IRS 2021 Lien”).
20

21   1
      As of the Petition Date, the 2014 IRS Lien secured a claim in the total amount of $68,379.85, of which $27,856.02
22   was for penalties and interest on penalties within the definition of 11 U.S.C. §§ 724(a) and 726(a)(4).
     2
      As of the Petition Date, the 2019 IRS Lien secured a claim in the total amount of $37,775.07, of which $11,104.88
23   was for penalties and interest on penalties within the definition of 11 U.S.C. §§ 724(a) and 726(a)(4).
     3
24    As of the Petition Date, the 2020 IRS Lien secured a claim in the total amount of $1,279,513.49, of which
     approximately $387,367.63 was for penalties and interest on penalties within the definition of
25   11 U.S.C. §§ 724(a) and 726(a)(4).
     4
      As of the Petition Date, the IRS 2021 Lien secured a claim in the total amount of $47,775.75 of which $14,638.00
26   was for penalties and interest on penalties within the definition of 11 U.S.C. §§ 724(a) and 726(a)(4).




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     AVOIDING AND PRESERVING … AND (3) RELATED RELIEF - 7                                             T: 206.508.0585
                                                                                              600 STEWART STREET, SUITE 1300
                                                                                               SEATTLE, WASHINGTON 98101

         Case 22-01003-CMA            Doc 1      Filed 02/18/22        Ent. 02/18/22 18:09:20           Pg. 7 of 14
 1          16.5    Judgment against Mark C. Wolf and Ryan D. Lentz, jointly and severally,
                    originally entered in the Circuit County of the State of Oregon for Marion
 2                  County, under case number 11C25243, in the total amount of
                    $3,396,667.95 plus attorneys’ fees and costs, and domesticated May 20,
 3                  2013, in King County Superior Court under case number 13-2-20260-3
                    SEA, in favor of FD 2011-C1 Hood Retail, LLC, last assigned to
 4                  Washington State Debt Acquisition LLC and recorded July 23, 2021,
                    under King County Recording Number 20210723002395.and
 5                  20200218001586; and
 6          16.6    Judgment against Mark Wolf individually and in favor of Renton
                    Collections, Inc., in the original amount of $2,401.40, entered in King
 7                  County District Court on May 6, 2014, and transcribed to King County
                    Superior Court under case number 15-2-15743-4 SEA on June 30, 2015,
 8                  in the total amount of $2,774.40.
 9                                     V.      LEGAL AUTHORITY
10                  17.     11 U.S.C. § 541(a) provides that

11          The commencement of a case under section 301 302, or 303 of this title creates an
            estate. Such estate is comprised of all the following property, wherever located
12          and by whomever held:
13              (1) Except as provided in subsections (b) and (c)(2) of this section, all legal or
                equitable interests of the debtor in property as of the commencement of the
14              case.
15              …
16              (3) Any interest in property that the trustee recovers under 329(b), 363(n),
                543, 550, 553, or 723 of this title.
17
                (4) Any interest in property preserved for the benefit of or ordered transferred
18              to the estate under section 510(c) or 551 of this title.
19              …
20              (7) Any interest in property that the estate acquires after the commencement
                of the case.
21

22                  18.     11 U.S.C. § 724(a) provides that “[t]he trustee may avoid a lien that

23   secures a claim of a kind specified in section 726(a)(4) of this title.”

24   ///

25   ///

26   ///




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     AVOIDING AND PRESERVING … AND (3) RELATED RELIEF - 8                                  T: 206.508.0585
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                                                                                    SEATTLE, WASHINGTON 98101

       Case 22-01003-CMA          Doc 1     Filed 02/18/22      Ent. 02/18/22 18:09:20       Pg. 8 of 14
 1                     19.     11 U.S.C. § 726(a)(4) provides that:
 2           Except as provided in section 510 of this title, property of the estate shall be
             distributed—
 3
             …
 4
                    (4) fourth, in payment of any allowed claim, whether secured or unsecured,
 5                  for any fine, penalty, or forfeiture, or for multiple, exemplary, or punitive
                    damages, arising before the earlier of the order for relief or the appointment of
 6                  a trustee, to the extent that such fine, penalty, forfeiture, or damages are not
                    compensation for actual pecuniary loss suffered by the holder of such claim;
 7

 8                     20.     11 U.S.C. § 550(a) provides that
 9           Except as otherwise provided in this section, to the extent that a transfer is
             avoided under section … 724(a) of this title, the trustee may recover, for the
10           benefit of the estate, the property transferred, or, if the court so orders, the value
             of such property, from—
11
                    (1) the initial transferee of such transfer or the entity for whose benefit such
12                  transfer was made; or
13                  (2) any immediate or mediate transferee of such initial transferee.
14                     21.     11 U.S.C. § 551 provides that “[a]ny transfer avoided under section …
15   724(a) of this title … is preserved for the benefit of the estate but only with respect to property of
16   the estate.”
17                     22.     11 U.S.C. § 724(b) governs the order of distribution of property and the
18   proceeds of property subject to a lien that secures an allowed claim for a tax that is not avoidable
19   “under this title” and in which the estate has an interest.
20                     23.     11 U.S.C. § 522(c)(2)(B) provides that a debtor may not avoid a properly
21   filed tax lien.
22                     24.     Article VI, Paragraph 2 of the United States Constitution, commonly
23   referred to as the “Supremacy Clause,” provides that
24           This Constitution, and the Laws of the United States which shall be made in
             Pursuance thereof; and all Treaties made, or which shall be made, under the
25           Authority of the United States, shall be the supreme Law of the Land; and the
             Judges in every State shall be bound thereby, any Thing in the Constitution or
26           Laws of any State to the Contrary notwithstanding.



     COMPLAINT FOR (1) DECLARATORY JUDGMENT, (2) JUDGMENT                                GROSHONG LAW PLLC
     AVOIDING AND PRESERVING … AND (3) RELATED RELIEF - 9                                       T: 206.508.0585
                                                                                        600 STEWART STREET, SUITE 1300
                                                                                         SEATTLE, WASHINGTON 98101

      Case 22-01003-CMA              Doc 1     Filed 02/18/22      Ent. 02/18/22 18:09:20         Pg. 9 of 14
 1                  25.     Article I, Section 8, of the United States Constitution, commonly referred
 2   to as the “Uniformity Clause,” states in part that “[t]he Congress shall have Power … To
 3   establish … uniform Laws on the subject of Bankruptcies throughout the United States.”
 4                                  VI.    FIRST CAUSE OF ACTION
 5   A.     For declaratory judgment determining that the Bellevue Residence is an asset of the
            estate under 11 U.S.C. § 541
 6

 7                  26.     Plaintiff repeats and realleges paragraphs 1 through 25 above.
 8                  27.     Under 11 U.S.C. § 541(a)(1), the property of the estate includes all legal
 9   or equitable interest of the Debtor in property as of the Petition Date.
10                  28.     Under 11 U.S.C. § 541(a)(3), property of the estate includes any interest in
11   property that the Trustee recovers under section 550.
12                  29.     Under 11 U.S.C. § 541(a)(4), property of the estate also includes “[a]ny
13   interest in property preserved for the benefit of or ordered transferred to the estate under
14   section…551 of this title.”
15                  30.     The IRS Liens described in paragraph 16 above may be avoided to the
16   extent they are liens for tax penalties and interest on penalties. 11 U.S.C. § 724(a) and
17   11 U.S.C. 726(a)(4). Such avoided liens are automatically preserved for the benefit of the estate
18   under 11 U.S.C. § 551 and may further be recovered by the trustee under 11 U.S.C. § 550.
19                  31      The Homestead Act, as amended, including RCW 6.13.070(2), as
20   amended, does not change the application of 11 U.S.C. § 541(a) to the Bellevue Residence. The
21   Bellevue Residence is property of the estate.
22                  32.     Alternatively, property of the estate includes the liens described in
23   paragraph 16 above that are avoided under 11 U.S.C. § 724(a) and recovered under
24   11 U.S.C. § 550, as provided by 11 U.S.C. § 541(a)(3).
25

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     COMPLAINT FOR (1) DECLARATORY JUDGMENT, (2) JUDGMENT                            GROSHONG LAW PLLC
     AVOIDING AND PRESERVING … AND (3) RELATED RELIEF - 10                                  T: 206.508.0585
                                                                                    600 STEWART STREET, SUITE 1300
                                                                                     SEATTLE, WASHINGTON 98101

      Case 22-01003-CMA            Doc 1   Filed 02/18/22     Ent. 02/18/22 18:09:20         Pg. 10 of 14
 1                   33.    Alternatively, property of the estate includes the liens described in
 2   paragraph 16 above that are avoided under 11 U.S.C. § 724(a) and preserved under
 3   11 U.S.C. § 551, as provided by 11 U.S.C. § 541(a)(4).
 4                                VII.    SECOND CAUSE OF ACTION
 5   A.       For declaratory judgment determining that to the extent RCW 6.13.070, as amended,
              violates the Supremacy Clause, it is void to that extent
 6

 7                   34.    Plaintiff repeats and realleges paragraphs 1 through 33 above.
 8                   35.    11 U.S.C. § 724(a) and 11 U.S.C. §§ 550 and 551 together embody the
 9   latest iteration of a clear and long-standing federal policy that creditors should not suffer from
10   non-pecuniary tax penalties or interest on tax penalties in a debtor’s bankruptcy.
11                   36.    To the extent that RCW 6.13.070(2), as amended, would prevent the
12   Trustee from using 11 U.S.C. §§ 724 and 551 for the benefit of the estate and its creditors, it
13   violates that long-standing federal policy, and is void and unenforceable by reason of the
14   Supremacy Clause. See United States v. Rodgers, 461 U.S. 677, 701 (1983) (the Supremacy
15   Clause of the Constitution renders state homestead exemptions ineffective against a federal tax
16   lien).
17                                 VIII. THIRD CAUSE OF ACTION
18   A.       For declaratory judgment determining that to the extent RCW 6.13.070, as amended,
              prevents the Bellevue Residence from being an asset of the estate it violates the
19            Uniformity Clause and is void to that extent
20                   37.    Plaintiff repeats and realleges paragraphs 1 through 36 above.
21                   38.    To the extent that the amendments to the Washington Homestead Act,
22   including RCW 6.13.070(2), as amended, would prevent the Trustee from using
23   11 U.S.C. §§ 724(a), 550 and 551 for the benefit of the estate and its creditors, it violates the
24   Uniformity Clause because it would result in disuniform applications of federal policy among the
25   several states, and is void and unenforceable.
26




     COMPLAINT FOR (1) DECLARATORY JUDGMENT, (2) JUDGMENT                            GROSHONG LAW PLLC
     AVOIDING AND PRESERVING … AND (3) RELATED RELIEF - 11                                  T: 206.508.0585
                                                                                    600 STEWART STREET, SUITE 1300
                                                                                     SEATTLE, WASHINGTON 98101

      Case 22-01003-CMA          Doc 1     Filed 02/18/22     Ent. 02/18/22 18:09:20         Pg. 11 of 14
 1                                 IX.     FOURTH CAUSE OF ACTION
 2   A.     For declaratory judgment determining the extent, validity, and priority of liens against the
            Bellevue Residence
 3

 4                  39.       Plaintiff repeats and realleges paragraphs 1 through 38 above.

 5                  40.       Plaintiff requests that the court determine the extent, validity and priority

 6   of liens against the Bellevue Residence.

 7                                   X.      FIFTH CAUSE OF ACTION
 8   A.     For judgment avoiding the IRS Liens for tax penalties and interest on tax penalties under
            11 U.S.C. § 724(a) and recovering the avoided IRS Liens or their value for the benefit of
 9          the estate under 11 U.S.C. § 550
10                  41.       Plaintiff repeats and realleges paragraphs 1 through 40 above.

11                  42.       Plaintiff is entitled to an order avoiding the IRS Liens to the extent they

12   secure nonpecuniary penalties and interest on penalties under 11 U.S.C. § 724(a).

13                  43.       To the extent the IRS Liens against the Bellevue Residence are avoided

14   pursuant to 11 U.S.C. § 724(a), Plaintiff is entitled to an order recovering the avoided IRS Liens

15   or their value for the benefit of the estate and its creditors pursuant to 11 U.S.C § 550 and

16   11 U.S.C. § 541(a)(3).

17                                   XI.    SIXTH CAUSE OF ACTION
18   A.     For judgment avoiding the IRS Liens for tax penalties and interest on tax penalties under
            11 U.S.C. § 724(a) and preserving the avoided IRS Liens for the benefit of the estate
19          under 11 U.S.C § 551
20                  44.       Plaintiff repeats and realleges paragraphs 1 through 43 above.

21                  45.       Plaintiff is entitled to an order avoiding the IRS Liens to the extent they

22   secure nonpecuniary penalties and interest on penalties under 11 U.S.C. § 724(a).

23                  46.       To the extent the IRS Liens against the Bellevue Residence are avoided

24   pursuant to 11 U.S.C. § 724(a), the avoided IRS Liens should be preserved for the benefit of the

25   estate and its creditors pursuant to 11 U.S.C. §§ 551 and 541(a)(4).

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     COMPLAINT FOR (1) DECLARATORY JUDGMENT, (2) JUDGMENT                              GROSHONG LAW PLLC
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                                                                                      600 STEWART STREET, SUITE 1300
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      Case 22-01003-CMA           Doc 1     Filed 02/18/22      Ent. 02/18/22 18:09:20         Pg. 12 of 14
 1                               XII.    SEVENTH CAUSE OF ACTION
 2   A.     For judgment that on sale of the Bellevue Residence, the proceeds of sale subject to the
            non-avoidable portions of the IRS Liens should be disbursed pursuant to
 3          11 U.S.C. § 724(b)
 4                  47.     Plaintiff repeats and realleges paragraph 1 through 46 above.

 5                  48.     On the Trustee’s sale of the Bellevue Residence, the proceeds of sale

 6   subject to the non-avoidable portions of the IRS Liens should be disbursed pursuant to

 7   11 U.S.C. § 724(b).

 8                                      XIII. RELIEF REQUESTED
 9                  WHEREFORE, Plaintiff prays for judgment against Defendants, as follows:

10                  1.      Determining that the Bellevue Residence is an asset of the estate under

11   11 U.S.C. §§ 541(a)(1), (3), and (4).

12                  2.      Determining that to the extent the Washington Homestead Act, as

13   amended, including but not limited to RCW 6.13.070(2), as amended, would prevent the

14   Bellevue Residence from being an asset of the estate so that the Trustee could avoid, recover,

15   and preserve the IRS Liens for non-pecuniary penalties and interest on penalties for the benefit

16   of the estate and its creditors, it violates the Supremacy Clause of the United States Constitution,

17   Article VI, paragraph 2, and is void and unenforceable to that extent.

18                  3       Determining that to the extent the Washington Homestead Act, as

19   amended, including but not limited to RCW 6.13.070(2), as amended, would prevent the

20   Bellevue Residence from being an asset of the estate so that the Trustee could avoid, recover,

21   and preserve the IRS Liens for non-pecuniary penalties and interest on penalties for the benefit

22   of the estate and its creditors, it violates the Uniformity Clause of the United States Constitution,

23   Article I, Section 8, and is void and unenforceable to that extent.

24                  4.      Determining the extent, validity and priority of liens against the Bellevue

25   Residence.

26




     COMPLAINT FOR (1) DECLARATORY JUDGMENT, (2) JUDGMENT                            GROSHONG LAW PLLC
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      Case 22-01003-CMA          Doc 1       Filed 02/18/22   Ent. 02/18/22 18:09:20         Pg. 13 of 14
 1                  5.     Avoiding the IRS Liens for non-pecuniary tax penalties and interest on
 2   penalties under 11 U.S.C. § 724(a) and allowing the Plaintiff to recover the avoided liens or their
 3   value from the IRS for the benefit of the estate and its creditors pursuant to 11 U.S.C. §§ 550 and
 4   541(a)(3).
 5                  6.     Avoiding the IRS Liens for non-pecuniary tax penalties and interest on
 6   penalties under 11 U.S.C.§ 724(a) and automatically preserving the avoided liens pursuant to
 7   11 U.S.C. §§ 551 and 541(a)(4).
 8                  7.     Ordering that on sale of the Bellevue Residence, disbursement of proceeds
 9   attributable to the IRS Liens, other than those proceeds from liens avoided under
10   11 U.S.C. § 724(a) and recovered and preserved under 11 U.S.C. §§ 550 and 551, shall be made
11   pursuant to 11 U.S.C. §724(b).
12                  DATED this 19th day of February, 2022.
13                                                   GROSHONG LAW PLLC
14

15                                                   /s/ Geoffrey Groshong
                                                     Geoffrey Groshong
16                                                   WSB No. 6124
17                                                         Attorneys for Edmund J. Wood
                                                           Plaintiff / Trustee
18

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     COMPLAINT FOR (1) DECLARATORY JUDGMENT, (2) JUDGMENT                          GROSHONG LAW PLLC
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      Case 22-01003-CMA         Doc 1     Filed 02/18/22     Ent. 02/18/22 18:09:20        Pg. 14 of 14
